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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
QUIKSILVER, INC., et al.,' Case No. 15-11880 (BLS)

(Jointly Administered)
Debtors.

Objection Deadline: October 1, 2015 at 4:00 p.m. (ET)
Hearing Date: October 6, 2015 at 10:00 a.m. (ET)

Ref. Nos. 17, 76 and 84

LIMITED OBJECTION OF WEST COUNTY COMMERCE REALTY HOLDING CO.
LLC TO DEBTORS’ MOTION FOR ENTRY OF FINAL ORDER (I) AUTHORIZING
THE DEBTORS TO (A) OBTAIN POSTPETITION FINANCING ON A SUPER-
PRIORITY, SENIOR SECURED BASIS AND (B) USE CASH COLLATERAL, (ID)
GRANTING (A) LIENS AND SUPER-PRIORITY CLAIMS AND (B) ADEQUATE
PROTECTION TO CERTAIN PREPETITION LENDERS, (III) MODIFYING THE
AUTOMATIC STAY, AND (IV) GRANTING RELATED RELIEF

West County Commerce Realty Holding Co. LLC (“West County” or the “Landlord”),
by its undersigned counsel, as and for its limited objection (the “Limited Objection”) to the
motion (the “Motion”) of Quiksilver, Inc. and its affiliate debtors (together, the “Debtors”) for
Entry of Final Order (i) Authorizing the Debtors to (a) Obtain Postpetition Financing on a Super-
Priority, Senior Secured Basis and (b) Use Cash Collateral, (ii) Granting (a) Liens and Super-
Priority Claims and (b) Adequate Protection to Certain Prepetition Lenders, (iii) Modifying the
Automatic Stay, and (iv) Granting Related Relief (the “Final DIP Order”), respectfully
represents as follows:

1, West County is the lessor pursuant to certain long term non-residential

commercial leases, as they may have been amended, with Quiksilver, Inc., as lessee, of the

' The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Quiksilver,
Inc. (9426), QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc. (8945), Hawk
Designs, Inc, (1121), Mt. Waimea, Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505), Quiksilver
Entertainment, Inc. (9667), and Quiksilver Wetsuits, Inc. (9599). The address of the Debtors’ corporate headquarters
is 5600 Argosy Circle, Huntington Beach, California 92649.
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following properties: (a) ground floor space located at 15202 Graham Street, (n/k/a 5600 Argosy
Circle, Huntington Beach, California, (b) the Suite 100 premises, located at 5600 Argosy Circle,
Suite 100, Huntington Beach, California, and (c) the Suite 200 premises, located at 5600 Argosy
Circle, Suite 200, Huntington Beach, California (together the “Leases”).

2, On September 11, 2015, this Court entered an interim order approving the
Debtors’ Motion on an interim basis [Docket No. 76] (the “Interim DIP Order”) and a final
hearing has been set to consider entry of the Final DIP Order approving debtor-in-possession
financing pursuant to a DIP Term Facility (as defined in the Interim DIP Order) and a DIP ABL
Facility (as defined in the Interim DIP Order and, together with the DIP Term Facility, the “DIP
Financing’’).

Gn The DIP Financing is secured by: (i) first priority liens on and security interests in
all unencumbered assets of the Debtors; (ii) junior liens on and security interests in collateral
subject to existing liens by the prepetition secured notes and prepetition credit facility (the
“Existing Lien Collateral’), and (iii) first priority priming liens on and security interests in the
Existing Lien Collateral (now or hereafter acquired and all proceeds thereof), subject to certain
priority provisions, and as fully set forth in the Interim DIP Order.

4. Existing Lien Collateral includes, among other things, accounts receivables,
inventory, cash deposit and securities accounts and such other assets related to or arising out of,
evidencing or governing any of the foregoing, including, without limitation, all cash, money and
cash equivalents and proceeds thereof, certain of the Debtors’ property, including without
limitation intellectual property, real estate, fixtures, furniture and equipment, and capital stock of

the Debtors’ subsidiaries.
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5. By this Limited Objection, Landlord seeks to clarify that, as to the Leases, any
lien granted pursuant to the Final DIP Order is only a lien on the proceeds from any disposition
of the Leases and does not grant the DIP Lenders (as defined in the Interim DIP Order) any
possessory interest in or right to the premises that are the subject of the Leases, unless they
already had such an interest or right prior to the date of the filing of the Debtors’ bankruptcy
petitions (the “Petition Date”).

6. The DIP Lenders cannot, after all, by virtue of a Final DIP Order proposed by the
Debtors, obtain a lien on or an interest in property that is not the Debtors’ to give away. Upon
information and belief, counsel for certain other landlords raised this issue at the hearing to
consider the Interim DIP Order, and this Court indicated that this issue is typically reserved for
the final hearing.

7. Indeed, West County notes that Your Honor did address this very issue in the

final debtor-in-possession financing order which was entered in In re RadioShack Corp., Case

No. 15-10197 (BLS) (Bankr. D. Del. Mar. 6, 2015) [Docket No. 839] (the “RadioShack DIP
Order”). In the RadioShack DIP Order, Your Honor specifically provided that:

with respect to the Borrower and Guarantors’ non-residential real
property leases and notwithstanding anything to the contrary in this
Final Order or any of the DIP Financing Documents, no liens or
encumbrances shall be granted or extend to the Borrower and
Guarantors’ real property leases themselves except as expressly
permitted in the applicable lease or pursuant to applicable law but
rather any liens granted shall extend only to the proceeds realized
upon the sale, assignment, termination or other disposition of such
real property leases.

8. Accordingly, and consistent with such approach, West County proposes that the
Final DIP Order herein be modified to contain the following clarifying language:
with respect to non-real property leases and notwithstanding

anything to the contrary in this Final Order or any of the DIP
Financing documents, no liens or encumbrances shall be granted

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or extended to real property leases themselves except as expressly
permitted in the applicable lease or pursuant to applicable law but
rather any liens granted shall extend only to the proceeds realized
upon the sale, assignment, termination or other disposition of the
Debtors’ interest in such real property leases, and nothing
contained herein shall grant the DIP Lenders or the DIP Agents
any possessory right to or interest in the premises that are the
subject of such leases unless they already had a right prior to the
Petition Date.

WHEREFORE, West County respectfully requests that the Final DIP Order, if approved,
contain a provision consistent with the relief sought in this Limited Objection and provide such

other relief as is just and proper.

Dated: September 29, 2015 CHIPMAN BROWN CICERO & COLE, LLP
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